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 7                        UNITED STATES DISTRICT COURT
 8                      CENTRAL DISTRICT OF CALIFORNIA
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11   Robert Scholler, et al,        )                SACV 21-01588-JVS(JDEx)
                                    )
12                                  )                ORDER OF DISMISSAL UPON
                   Plaintiff,       )
13                                  )                SETTLEMENT OF CASE
           v.                       )
14                                  )
     Ollieroo Inc,                  )
15                                  )
                   Defendant(s).    )
16                                  )
                                    )
17   ______________________________ )
18
19         The Court having been advised by the counsel for the parties that the above-
20   entitled action has been settled,
21         IT IS ORDERED that this action be and is hereby dismissed in its entirety
22   without prejudice to the right, upon good cause being shown within 60 days, to reopen
23   the action if settlement is not consummated.
24
25   DATED: November 5, 2021                             __________________________
                                                         James V. Selna
26                                                       U.S. District Judge
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